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                         IN THE UNITED STATES DISTRICT COURT                           OCT - T 2013
                         FOR THE EASTERN DISTRICT OF VIRGINIA                     CLERK. U.S. DISTRICT COURT
                                                                                 S.     RICHMOND. VA

                                         Richmond Division


UNITED STATES OF AMERICA                                       Criminal No. 3:13cr127




JOSHUA CLAYTON BRADY,

                               Defendant.


                                    STATEMENT OF FACTS


        The parties stipulate that allegations contained in Counts One and Two of the indictment

and the following facts are true and correct, and that had this matter gone to trial, the United States

would have proven each of them beyond a reasonable doubt:

        1.     On or about June 23-25, 2013, in the Eastern District of Virginia and within the

jurisdiction of this Court, defendant JOSHUA CLAYTON BRADY, also known as "Jacob

Attlinger," knowingly and falsely assumed and pretended to be an officer and employee of the

United States acting under the authority thereof, in that he falsely claimed that he was an employee

of the United States Department of Homeland Security when arranging a purported undercover

operation with officials of Bon Secours St. Francis Medical Center.

       2.      On or about June 23-25,2013, in the Eastern District of Virginia and within the

jurisdiction of this Court, defendant JOSHUA CLAYTON BRADY, also known as "Jacob

Attlinger," knowingly and falsely assumed and pretended to be an officer and employee of the

United States acting under the authority thereof, in that he falsely claimed that he was an employee

of the United States Department of Homeland Security when arranging a purported undercover

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